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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            )
    In re:                                                  )    Chapter 11
                                                            )
    DIAMOND SPORTS GROUP, LLC, et al.,1                     )    Case No. 23-90116
                                                            )
                                    Debtors.                )    (Jointly Administered)
                                                            )
                                                            )
    DIAMOND SPORTS GROUP, LLC,                              )
                                                            )
                                     Plaintiff,             )
                                                            )
                                   v.                       )    Adv. Pro. No. 23-03135
                                                            )
    JP MORGAN CHASE FUNDING INC. and JP                     )
    MORGAN CHASE & CO.,
                                                            )
                                     Defendants.            )
                                                            )

            PLAINTIFF’S MOTION FOR ENTRY OF AN ORDER (I) TO SEAL
         THE PLAINTIFF’S COMPLAINT AND (II) GRANTING RELATED RELIEF
                             [Relates to Docket No. 2]

       If you object to the relief requested, you must respond in writing. Unless otherwise
       directed by the Court, you must file your response electronically at
       https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion was
       filed. If you do not have electronic filing privileges, you must file a written objection
       that is actually received by the clerk within twenty-one days from the date this motion
       was filed. Otherwise, the Court may treat the pleading as unopposed and grant the
       relief requested.

             Plaintiff Diamond Sports Group, LLC (“Diamond” or “Plaintiff”), respectfully states as

follows in support of this motion (the “Motion to Seal”):




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of
these chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.

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                                                 Relief Requested

           1.       Diamond seeks entry of an order, substantially in the form attached hereto (the

“Proposed Order”) (a) authorizing Diamond to provisionally file the complaint against defendants

JP Morgan Chase Funding Inc. (“JPMCFI”) and JP Morgan Chase & Co. (“JPMC,” and together

with JPMCFI, the “Defendants”) entirely under seal [Adv. Docket No. 2] (the “Complaint”),

pending further review;2 and (b) granting related relief.

                                             Jurisdiction and Venue

           2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding under 28 U.S.C. § 157(b).

           3.       Venue is proper pursuant to 28 U.S.C. § 1408.

           4.       The bases for the relief requested herein are sections 105(a) and 107(b) of title 11

of the United States Code (the “Bankruptcy Code”), Rule 9018 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and the inherent powers of the Court.

                                                    Background

           5.       On March 14 and 15, 2023, the above-captioned debtors (the “Debtors”) each filed

voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Bankruptcy Court”).

           6.       On July 19, 2023, Diamond filed its Complaint against the Defendants in the above-

captioned adversary proceeding, asserting causes of action related to: recovery of subsequent

transfers against JPMCFI under sections 544, 548(a)(1)(A), 550, and 551 of the Bankruptcy Code,

unjust enrichment against JPMCFI, money had and received against JPMCFI, and aiding and

abetting breaches of fiduciary duty against JPMC.



2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Complaint.

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       7.       Defendants and certain third parties have designated the vast majority of the

documents and testimony underlying the factual allegations in the Complaint as Confidential

Material, Attorneys’ Eyes Only Material, or Outside Counsel Only Material as those terms are

defined in the Stipulated Protective Order entered at Docket 822 in the Main Case (the “Designated

Material”). In addition, certain discovery materials may reflect information protected by the

attorney-client privilege belonging to both Plaintiff and Defendants. Accordingly, out of an

abundance of caution, and without acceding to the legitimacy of those designations by Defendants

and those third parties, Plaintiff has filed the Complaint under seal and have not, as of now, filed

a redacted version of the Complaint for public viewing. Plaintiff will confer with Defendants and

the third parties regarding their designations of the Designated Material, and will file a redacted

copy of the Complaint for public viewing following those discussions. Plaintiff reserves the right

to challenge Defendants’ and the third parties’ designations pursuant to the terms of the Stipulated

Protective Order at a later time in the event that Defendants and the third parties do not agree to

voluntarily de-designate materials they have produced.

       8.       Plaintiff will serve a fully unredacted copy of the Complaint on the Defendants.

                                         Basis for Relief

       9.       Because Defendants and certain third parties contend that the documents and

testimony underlying the factual obligations in the Complaint constitute Confidential Material,

Attorneys’ Eyes Only Material, or Outside Counsel Only Material, Plaintiff requests that the

Complaint be filed under seal.

       10.      The Bankruptcy Code provides support for sealing the Complaint. Section 105(a)

of the Bankruptcy Code codifies the inherent equitable powers of the bankruptcy court and

empowers the bankruptcy court to “issue any order, process, or judgment that is necessary or



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appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). Section 107(b) of the

Bankruptcy Code provides bankruptcy courts with the power to issue orders that will protect

parties from potential harm that may result from the disclosure of certain information. See 11

U.S.C. § 107(b) (“On request of a party in interest, the bankruptcy court shall, . . . protect an entity

with respect to a trade secret or confidential research, development, or commercial information;

or protect a person with respect to scandalous or defamatory matter contained in a paper filed in a

case under this title.”); see In re Gen. Homes Corp., 181 B.R. 898, 903 (Bankr. S.D. Tex. 1995)

(“The court has authority to seal court records, in order to protect trade secrets or confidential

research, development, or confidential information, or to protect a person with regard to a

scandalous or defamatory matter.”). Although section 107(b) of the Bankruptcy Code is an

exception to the general presumption in favor of public access to court filings, its application in a

bankruptcy proceeding is appropriate. See In re 50-Off Stores, Inc., 213 B.R. 646, 654 (Bankr.

W.D. Tex. 1997) (“[T]he very existence of the [§ 107(b)] exception demonstrates Congress’

anticipation that the administration of bankruptcy cases might, by their very nature, require special

intervention to protect some kinds of information from dissemination to the world.”).

        11.     Here, the Complaint contains information that Defendants have asserted is

commercially sensitive, thus satisfying one of the categories enumerated in section 107(b) of the

Bankruptcy Code for which sealing documents is appropriate.

        12.     In light of the foregoing, Plaintiff respectfully requests that the Court enter an order

directing that the Complaint be filed under seal in its entirety, until such time as a version of the

Complaint that contains partial redactions as agreed upon by the Plaintiff, Defendants, and certain

third parties, is filed on the public docket.




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       13.     WHEREFORE, Plaintiff respectfully requests that the Court (a) enter the Proposed

Order in substantially the form attached hereto and (b) grant such other and further relief as may

be just and proper.

                          [Remainder of page intentionally left blank.]




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Dated: July 19, 2023                   Respectfully submitted,

                                       By: /s/ John F. Higgins
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                                       Eric D. Wade (TX Bar No. 00794802)
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                                       - and –

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                                       Counsel for the Plaintiff




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                                CERTIFICATE OF SERVICE
       I certify that on July 19, 2023, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas.

                                                            /s/ John F. Higgins
                                                            John F. Higgins




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